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                UNITED STATES DISTRICT COURT
                   DISTRICT OF NEW JERSEY


IN RE VALSARTAN,
LOSARTAN, AND                                   MDL No. 2875
IRBESARTAN PRODUCTS
LIABILITY LITIGATION
                                        HON. ROBERT B. KUGLER
                                         CIVIL NO. 19-2875 (RBK)
THIS DOCUMENT RELATES TO
ALL CASES




PLAINTIFFS’ BRIEF IN OPPOSITION TO ZHP DEFENDANTS’ MOTION
TO AMEND OR CORRECT THE COURT’S OPINION ON THE PARTIES’
  LIABILITY EXPERTS AND IN SUPPORT OF PLAINTIFFS’ CROSS
 MOTION TO EXCLUDE DR. AFNAN’S OPINIONS THAT RELY ON DR.
                 XUE’S EXCLUDED OPINIONS
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                         PRELIMINARY STATEMENT

      The ZHP Defendants’ motion to limit the Court’s exclusion of some of Dr.

Afnan’s opinions based on the Court’s decisions allowing other experts to opine on

the same areas is built on a false premise, as if every other expert has the same

expertise, applied the same methodology, and relied on the same basis for and nature

of their opinions as Dr. Afnan. Moreover, the ZHP Defendants present Dr. Afnan as

their primary counterpart to Dr. Najafi and Dr. Plunkett, when he actually matches

up most closely with Plaintiffs’ expert Dr. Bain.

      Defendants proffer a fanciful legal rule that the exclusion of one party’s expert

on an issue requires the exclusion of the other party’s corresponding expert. If that

were true, then the extensive limitations placed on Dr. Bain would apply to Dr.

Afnan as well. Of course, that is not the rule, since the Court evaluates each expert

individually based on that expert’s qualifications, methodology, and the basis for

and nature of each opinion.

      However, in filing this motion the Defendants unwittingly invited Plaintiffs

to cross-move regarding an important basis to exclude a great deal more of Dr.

Afnan’s proffered opinions, that was not addressed by the Court—likely due to the

large volume of Daubert motions filed by the Parties. 1 Specifically, Dr. Afnan relied


1
  Plaintiffs intended to address this issue on a motion in limine to preclude experts
from offering opinions that are based on other experts’ since precluded opinions,
which the defense has agreed to in principle; however, in light of the filing of

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entirely on Dr. Xue’s chemistry and other excluded opinions as the basis for most of

his opinions, including that the ZHP Defendants complied with cGMPs and their

other regulatory obligations. An important consequence of the Court’s exclusion of

Dr. Xue’s opinions is the evisceration of the basis for Dr. Afnan’s opinions. Without

that foundational basis, which Dr. Afnan explicitly relied on for his opinions, he has

no support for his cGMP and regulatory opinions and other opinions addressed

herein regarding the ZHP Defendants. The Court should consequently exclude those

opinions.

                                   ARGUMENT

                                          I.

          THE COURT CORRECTLY TREATED EXPERTS
   DIFFERENTLY BASED ON THEIR EXPERTISE, METHODOLOGY,
      AND THE BASIS FOR AND NATURE OF THEIR OPINIONS

      The relief sought by the ZHP Defendants’ motion is somewhat unclear until

the second to last page, where they ask the Court to “deny plaintiffs’ motion to

exclude Dr. Afnan in full.” (Defs.’ Br. 10). The ask seems to be disconnected with

the Court’s decision excluding parts of Dr. Afnan’s report:

             In ¶24 of his report, that the VCDs were not adulterated
             because the way he asserts this opinion is not based on an
             FDA’s or other legal body’s determination;



Defendants’ motion, Plaintiffs deemed it most efficient to cross-move on this issue
related to Dr. Afnan now.

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             In ¶53, that the lack of standards or guidance in any
             industry-recognized standard such as an FDA guidance,
             USP standard, etc. for testing nitrosamines provides
             LEGAL assurance that ZHP was diligent in testing for
             nitrosamines; and that the specific guidance document in
             this paragraph does not provide legally enforceable
             requirements for pharmaceutical product manufacturers;

             ¶64, because it is pure ipse dixit;

             ¶69, any assertion of therapeutical equivalence between
             VCDs and the RLD, Diovan®;

             ¶138, as this paragraph states Dr. Afnan’s opinions about
             the definitions of “adulterated” and “bioequivalent”,
             which Afnan is not qualified to state and is therefore not
             helpful to the fact-finder.

             ¶153, because Afnan is not a legal expert who may opine
             on the meaning and implications of the causation opinion
             of 6 Dec 2022 in In re Zantac MDL.

(ECF 2581, p. 6-7). The Court’s reason for excluding each paragraph in no way

applies to Dr. Najafi’s or Dr. Plunkett’s corresponding opinions, to the extent such

opinions exist.

      Paragraph 24 of Dr. Afnan’s report states:

             Plaintiffs’ experts lack support for the assertion that
             generic valsartan was adulterated because it was not
             bioequivalent to the brand-name Reference Listed Drug
             (“RLD”), Diovan. Whether a pharmaceutical drug or API
             is adulterated is a determination made by the FDA; a drug
             cannot be retroactively deemed adulterated for purposes of
             litigation. Moreover, the presence of trace impurities in a
             generic drug or drug component does not affect
             bioequivalence or render a drug adulterated. And in any
             event, an independent lab [(Valisure)] (whose nitrosamine

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             testing has been reviewed and confirmed by Dr. Najafi)
             identified NDMA in Diovan. Thus, even if bioequivalence
             were affected by trace impurities, Plaintiffs’ experts’
             theories would still be illogical.

(Ex. 1). 2 The exclusion was proper. Among other things, Dr. Afnan conceded that

he did nothing to confirm the reliability of Valisure’s testing, which was found by

the FDA to be unreliable. (Afnan 3/8/2023 Dep. Tr. 413:22-415:16 (Ex. 2); FDA

Letter to Valisure, dated December 5, 2022 (Ex. 3)). Dr. Afnan also admitted that

he never tried to match up the blinded sample test results per Dr. Najafi with the

valsartan results reported by Valisure—which do not match up. (Afnan 3/8/2023

Dep. Tr. 412:8-413:4). Most important, he could not answer whether, because the

approved Diovan process could not create nitrosamines (as even admitted by Dr.

Xue (Xue Dep. Tr. 171:6-10 (Ex. 4)), any NDMA contamination of a Diovan batch

or part thereof would actually evidence a cGMP violation. (Afnan 3/8/2023 Dep.

Tr. 416:24-419:8).

      In contrast, Dr. Najafi and Dr. Plunkett built their opinions on a reliable

foundation, including Defendants’ own testing and testimony to confirm the

existence of NDMA and NDEA in their VCDs and on the FDA and Health Canada’s

testing for the fact that Diovan and Exforge do not have NDMA and NDEA in them.

(Dr. Najafi R., p. 5-6 (Ex. 5); Dr. Plunkett R., p. 30, 33, 41 (Ex. 6)). This is why the


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 Unless otherwise noted, all exhibits are attached to the Certification of Adam M.
Slater filed with this brief.

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Court correctly treated Dr. Afnan’s opinions differently from Dr. Najafi’s and Dr.

Plunkett’s.

      The 53rd paragraph of Dr. Afnan’s report states:

              The only references to the FDCA and the CFR in the
              Quality Agreement guidance document are referrals to
              definitions stated therein. Thus, this guidance document
              does not provide legally enforceable requirements for
              pharmaceutical product manufacturers. It is true that ICH
              Q7 states that “[t]here should be a written and approved
              contract or formal agreement between a company and its
              contractors that defines in detail the GMP responsibilities,
              including the quality measures, of each party.” But, as
              Bain acknowledges, ZHP did have quality agreements
              with the finished dose manufacturers. (See, e.g., Bain Rep.
              at 70 (acknowledging ZHP had quality agreements in
              place with Prinston, Teva and Torrent).) Such quality
              agreements appropriately detail the responsibilities of the
              API and drug product manufacture, including with respect
              to quality measures, consistent with ICH Q7. (See
              PRINSTON00463676;                    PRINSTON00469838;
              ZHP00697574;           see,       e.g.,    ZHP02471359;
              PRINSTON00161064;                    PRINSTON00372649;
              PRINSTON00160785; ZHP02030312; ZHP01940772;
              ZHP00343409; ZHP02601697; ZHP01941907; TEVA-
              MDL2875-00020279 (Teva 167); TEVA-MDL2875-
              00020213 (Teva 168); TEVA-MDL2875-00020214 (Teva
              169); TEVA-MDL2875-00020212 (Teva 170).)

(Ex. 1). This is a pure legal opinion: “this guidance document does not provide

legally enforceable requirements for pharmaceutical product manufacturers,” 3 just


3
 Dr. Afnan’s report on this point is especially confusing because he then testified:
“…cGMPs are a list of what-to-dos as stipulated by the Food and Drug
Administration. How those are effectively put into practice is done through the
procedures of the firm…the cGMPs are defined, for API manufacturers in Q7 –

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as Dr. Afnan’s discussion of the Daubert decision in the Zantac MDL. (Id.). Dr.

Najafi and Dr. Plunkett never opine on whether a guidance document is definitively

“legally enforceable.” (Dr. Najafi R. (Ex. 5); Dr. Plunkett R. (Ex. 6)). And the ZHP

Defendants have admitted that they were required to comply with the ICH

requirements – as a matter of fact, not opinion. (See, e.g., Peng Dong 3/29/2021 Dep

Tr. 33:9-34:10, 35:18-24, 37:5-9, 40:9-11, 55:15-18; 56:22-57:2 (Ex. 7)).

      Paragraph 64 of Dr. Afnan’s report states:

             When determining which reporting mechanism to use, a
             drug application holder must rely on the information
             reasonably available at the time.

(Ex. 1). Dr. Afnan did not provide any support or explanation for this dangling one

sentence opinion, or explain what was “reasonably available”. The Court properly

excluded it as “pure ipse dixit.” (ECF 2581, p. 6).

      Dr. Afnan’s 69th paragraph is similarly conclusory:

             Since approval of the ANDA in 2015, Prinston’s drug
             products (40, 80, 160 and 320 mg Valsartan) continue to
             be considered therapeutically equivalent to the original
             drug product, namely Diovan.




ICH guidance Q7. For drug product manufacturers, it’s defined in 210 and 211 of
the code of federal regulations. Again, those are the what-to-dos and not the how-
to-dos….My point is, the GMPs are a set of what-to-dos and not how-to-dos.
Industry needs to follow the how-to-dos and those how-to-dos are based on –
for API manufacturers, are based on Q7…” (Afnan 2/8/2023 Dep. Tr. 29:24-
32:5, 35:8-37:13 (emphasis added); see also id. at 37:16-40:15).

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(Ex. 1). Nowhere in his opinion does Dr. Afnan define therapeutic equivalence or

explain how the ZHP Defendants’ VCDs meet that definition—which he cannot

since therapeutic equivalence requires the same quality and purity as the RLD as

well as compliance with current good manufacturing practices. (Id.; Hai Wang

3/10/21 Dep. Tr. 82:4-83:22, 84:2-5, 84:19, 84:22-85:10 (Ex. 8); Orange Book

Preface, https://www.fda.gov/drugs/development-approval-process-drugs/orange-

book-preface (Ex. 9, p. 4, 6-8)). There is no reliable basis or methodology to support

this opinion, which is fundamentally wrong in light of the confirmed and admitted

NDMA and NDEA contamination. (PRINSTON00077339-44 (Ex. 10)). On the

other hand, both Dr. Najafi and Dr. Plunkett reliably define therapeutic equivalence

and explain why Defendants’ VCDs fail to meet that definition. (Dr. Najafi R., p.

10, 29 (Ex. 5); Dr. Plunkett R., p. 41 (Ex. 6)). As a result, the Court properly

excluded Dr. Afnan’s opinion while permitting those of Dr. Najafi and Dr. Plunkett.

      The 138th paragraph of Dr. Afnan’s report states:

             Fourth, Plaintiffs’ experts lack support for the assertion
             that generic valsartan API was adulterated at the time of
             sale because it was not bioequivalent to the brand-name
             RLD, Diovan. Whether a pharmaceutical drug is
             adulterated is a determination made by the FDA; a drug
             cannot be retroactively deemed adulterated for purposes of
             litigation. Moreover, the presence of trace impurities in a
             generic drug or drug component does not affect
             bioequivalence or render a drug adulterated. And in any
             event, an independent lab [(Valisure)] (whose nitrosamine
             testing has been reviewed and confirmed by Dr. Najafi)
             identified NDMA in Diovan. Thus, even if bioequivalence

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             were affected by trace impurities, Plaintiffs’ experts’
             theories would still be illogical.

(Ex. 1). This paragraph was properly excluded for the same reasons as Paragraph 24.

Aside from the fatal flaws found by the Court, Dr. Afnan sets up a straw man with

this opinion that does not “fit” the case, since Plaintiffs are not asserting that lack of

bioequivalence is the basis for adulteration. The ZHP Defendants similarly attempt

to obscure the issue by imprecisely referring to the “equivalence” opinions as if they

are all the same. (Defs.’ Br. 2, 6).

      It is the lack of therapeutic equivalence, and corresponding cGMP violations

and lack of compliance with the compendiums that underly Plaintiffs’ claims here.

Additionally, as Plaintiffs explained in their original motion, there is no

methodology or analysis underlying Dr. Afnan’s obviously inaccurate legal opinion

that drugs can only be deemed adulterated by the FDA prospectively. Plaintiffs’

experts did not approach the issue the same flawed way, instead analyzing the

admissible facts of record and applying the statutory definition.

      The Court was well within its authority to prevent Dr. Afnan from providing

patently inaccurate legal advice to a jury, or talking about the Valisure situation

based solely on innuendo and speculation. As discussed below, Dr. Afnan’s opinion

as to “how those regulations apply to ZHP’s conduct” is also hopelessly tethered to

Dr. Xue’s precluded opinions, and thus falls with those already precluded opinions

as well.

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      The last paragraph the Court excluded was Paragraph 153:

             Moreover, a federal judge recently found that the plaintiffs
             in litigation involving allegations of NDMA in another
             pharmaceutical drug “fail[ed] to produce admissible
             primary evidence” that trace amounts of NDMA in
             pharmaceuticals are capable of causing cancer. In re
             Zantac (Ranitidine) Prod. Liab. Litig., No. 20-MD-2924,
             2022 WL 17480906, at *167 (S.D. Fla. Dec. 6, 2022).
             Among other things, the court explained that:

                    None of the Plaintiffs’ experts have provided
                    reliable primary evidence of dose-response
                    relationship for ranitidine. The Plaintiffs’
                    experts either fail to address dose-response
                    relationship or provide dose-response
                    relationship opinions derived from unreliable
                    methodologies. Furthermore, the Plaintiffs’
                    experts have not provided reliable opinions
                    regarding what threshold dose of NDMA
                    causes each of the five Designated Cancers,
                    let alone what threshold dose of ranitidine
                    causes cancer. Based upon the totality of the
                    evidence, none of the Plaintiffs’ experts
                    provided reliable primary evidence of a dose-
                    response relationship for ranitidine and the
                    Designated Cancers. The lack of reliable
                    dose-response relationship opinions casts
                    doubt on the reliability of the Plaintiffs’
                    experts’ general causation methodologies.
                    Id. at *158.

(Ex. 1). This is a legal argument masquerading as an expert opinion, on top of the

fact that the Zantac case addressed a different drug, different facts, and a different

record. Dr. Najafi and Dr. Plunkett do not proffer any remotely similar opinions.

(Dr. Najafi R. (Ex. 5); Dr. Plunkett R. (Ex. 6)).



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                                          II.

       THE COURT SHOULD EXCLUDE ALL OF DR. AFNAN’S
     OPINIONS THAT RELY ON DR. XUE’S EXCLUDED OPINIONS

      Dr. Afnan relies extensively on Dr. Xue’s excluded opinions for his own

opinions, and the Court has excluded all of Dr. Xue’s substantive chemistry opinions

and opinions regarding the July 2017 email. This exclusion is broad and all-

encompassing, including generally opinions about “the sufficiency of ZHP’s

conduct,” with the only exception being for background. (ECF 2581, p. 17-18). As

a result, all of Dr. Afnan’s opinions that rely on Dr. Xue’s excluded opinions should

be precluded, and because this subsumes all of Dr. Afnan’s substantive opinions, he

should be precluded altogether. Gopalratnam v. Hewlett-Packard Co., 877 F.3d 771,

789 (7th Cir. 2017) (“plaintiffs cannot reasonably admit through [a second expert]

what they could not offer through [the excluded one]”); Sims v. Kia Motors of Am.,

Inc., 839 F. 3d 393, 405 (5th Cir. 2016) (“[T]he district court properly excluded [the

second expert’s] theory ... because it relied on [the first expert’s] inadmissible ...

theory”); Fuesting v. Zimmer, Inc., 362 F. App'x 560, 564 (7th Cir. 2010)

(“[B]ecause [an expert’s] testimony on causation primarily relies on an excluded

expert opinion …, the district court did not err in excluding it.”); more generally In

re Paoli Railrod Yard PCB Litig., 35 F.3d 717, 742 (3d Cir. 1994) (an “expert must

have ‘good grounds’ for his or her belief”); In re TMI Litig., 193 F.3d 613, 697 (3d

Cir, 1999) (holding, “If the data underlying the expert's opinion are so unreliable that

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no reasonable expert could base an opinion on them, the opinion resting on that data

must be excluded.”).

      To illustrate, in Paragraphs 141 and 190 of his report, which present the

overarching core of Dr. Afnan’s opinions regarding ZHP’s compliance with cGMPs

and other regulatory obligations, and with regard to the July 27, 2017 smoking gun

email, he explicitly relies on Dr. Xue and states:

             As explained in detail in the report of Fengtian Xue,
             ZHP’s scientists did not have a reasonable scientific basis
             to expect that NDMA or NDEA could form during either
             the TEA with quenching or Zinc Chloride processes; thus,
             ZHP did not have a reason to investigate nitrosamines at
             the time the company was performing its risk assessments
             for these processes. (See Xue Rep. at Section V.B.2.)

                                        * * *

             But as detailed in the report of Fengtian Xue, an expert
             chemist with native fluency in Chinese, Plaintiffs’ experts
             misread this highly technical email. (See Xue Rep. at
             Section VI.) As Dr. Xue explains, the [July 27, 2017]
             email does not establish ZHP’s awareness of a potential
             for the formation of NDMA or NDEA as a result of the
             valsartan API production processes, but instead addresses
             the potential for entirely different impurities in different
             drug substances. (Id.)

(Ex. 1). The subheadings of the surrounding parts of Dr. Afnan’s report illustrate

how these two paragraphs underpin the rest of his opinions concerning ZHP’s

compliance with cGMPs and other regulatory requirements:

             A. ZHP Conducted And Disclosed Appropriate Risk
                Analyses Of The Zinc Chloride And TEA With

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               Quenching Processes Consistent With CGMPs And
               Regulatory Requirements.

            B. ZHP Performed Appropriate Testing Pursuant To
               Regulatory Requirements And CGMPs While
               Valsartan Was On The Market.

            C. ZHP Properly Responded To Identification Of Trace
               Amounts Of Nitrosamines In Valsartan API.

            D. ZHP’s API Was Not Adulterated.

(Ex. 1, at p. i). The following specific statements are emblematic of Dr. Afnan’s

reliance on Dr. Xue’s chemistry opinions:

   • “First, ZHP conducted appropriate risk assessments of each of the relevant
     changes to the API manufacturing process (TEA with quenching and Zinc
     Chloride) based on what was known at the time those manufacturing changes
     were made. ZHP also disclosed the content and results of those assessments
     to the FDA for review and approval through the ANDA process. …. To the
     contrary, after nitrosamines were identified in valsartan API in May 2018, the
     FDA repeatedly stated that neither industry nor regulators were aware that
     NDMA or NDEA could form during the manufacture of valsartan API prior
     to May 2018” (Id. at ¶ 135). This opinion relies on both Dr. Xue’s excluded
     opinions.

   • “Plaintiffs’ experts presented any evidence that, prior to May 2018, ZHP knew
     of the potential for nitrosamine impurities in valsartan API such that it would
     have had reason to go beyond industry testing standards and use GC-MS
     testing to identify unknown impurities below 0.10%.” (Id. at ¶ 136). This
     opinion is clearly contradicted by the July 27, 2017 email without Dr.
     Xue’s reimagining to rely on.

   • “Third, ZHP responded appropriately to the discovery of nitrosamines in
     valsartan API in May 2018, including by enacting a voluntary recall and
     withdrawing all valsartan API from the United States market.” (Id. at ¶ 137).
     Same as prior example.

   • “ZHP performed lengthy, thorough investigations of these processes before

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     submitting the manufacturing changes to the FDA to analyze potential risks,
     including an investigation of the potential for impurities.” (Id. at ¶ 139). Dr.
     Afnan’s only concrete, non-conclusory basis for this opinion is Dr. Xue’s
     now excluded chemistry opinions, including what was knowable.

  • “But ZHP concedes that the company did not specifically investigate the
    potential for nitrosamines in its API prior to May 2018. As detailed throughout
    this report, this does not constitute a CGMP violation because neither ZHP,
    nor manufacturers of finished dose valsartan products, nor the FDA had a
    reasonable scientific basis to suspect that nitrosamines could form as a result
    of ZHP’s manufacturing processes.” (Id. at ¶ 160). Again, this opinion relies
    directly on Dr. Xue’s excluded opinion as to what was knowable, and is
    clearly contradicted by the July 27, 2017 email without Dr. Xue’s
    reimagining to rely on.

  • “The realities of what was known at the time these processes were developed
    demonstrate that ZHP did not have a reasonable basis to test for nitrosamines
    in its API.” (Id. at ¶ 170). Dr. Afnan’s only concrete, non-conclusory basis
    for this opinion is Dr. Xue’s now excluded chemistry opinions.

  • “Again, compliance with CGMPs turns on what is reasonably known at the
    time product manufacturing takes place – not information that becomes
    available after the manufacturing conduct has stopped.” (Id. at ¶ 171). Same
    as the prior example.

  • “By contrast, as set forth above, there would have been no expectation that
    the processes used to synthesize valsartan API would generate trace amounts
    of dimethylamine, which could lead to formation of NDMA via secondary
    reaction under special circumstances (in the presence of nitrous acid). (Id. at
    234.) After all, there had been no literature indicating that NDMA was a
    potential impurity in valsartan API prior to June 2018. (Id.)” (Ex. 1, at ¶ 176).
    Same as the prior example.

  • “Reasonably expected impurities would not include NDMA or NDEA
    because, as discussed above….” (Id. at ¶ 181). Same as the prior example.

  • “ZHP also promptly and properly reported its finding of NDMA/NDEA in
    valsartan API and took appropriate action consistent with FDA regulations
    and relevant guidance documents.” (Id. at ¶ 188). Again, this opinion is


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      clearly contradicted by the July 27, 2017 email without Dr. Xue’s
      reimagining to rely on.

   • “ZHP was put on notice that there was something to investigate with respect
     to nitrosamines in valsartan API for the first time in May 2018.” (Id. at ¶ 191).
     This opinion relies on both of Dr. Xue’s excluded opinions.

   • “To the extent they address the recall, it is only to suggest that it should have
     happened earlier. (E.g., Plunkett Rep. at 32-33.) This suggestion is based on
     the presumption that NDMA/NDEA impurities should have been discovered
     earlier, which is incorrect for all of the reasons disussed [(sic)] above.” (Id. at
     ¶ 193). Dr. Afnan’s only concrete, non-conclusory basis for this opinion is
     Dr. Xue’s now excluded chemistry opinions.

   • “But the reference in the Form 483 to the ‘potential impact’ of the process
     change is obviously a reference to the production of NDMA and NDEA
     impurities (the possibility of which was first discovered in May 2018), not an
     abstract concern of the FDA about the change or the formality of ZHP’s risk
     assessments.” (Id. at ¶ 201). Again, this opinion is clearly contradicted by
     the July 27, 2017 email without Dr. Xue’s reimagining to rely on.

   • “Moreover, at the end of the same month in which the FDA issued the Form
     483, it told the public that ‘neither regulators nor industry fully understood
     how NDMA could form during this process,’ and they were ‘still not 100
     percent sure that this is the root cause of the problem’ at that time.” (Id. at ¶
     202). This relies on both the major opinions relying on Dr. Xue, and the
     July 27, 2017 email was never produced to or addressed by the FDA, and
     it contradicts Dr. Afnan’s ability to rely on this statement from the FDA,
     as it explicitly identified NDMA in valsartan as well as its root cause.

   • “Third, the FDA’s CGMP observations were made in hindsight, in an effort
     to determine how the nitrosamine contamination eluded so many scientists
     and regulators. Newer information not available while a product was on the
     market cannot retroactively render a product adulterated.” (Id. at ¶ 210). This
     opinion relies on both Dr. Xue’s excluded opinions.

Dr. Afnan also provides extensive commentary on Dr. Hecht’s chemistry opinions,

which he could only do by relying on Dr. Xue’s now excluded chemistry opinions.


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(Id. at ¶ 139-140, 146, 171-172, 185). Dr. Afnan does the same thing with respect

to Dr. Najafi’s chemistry opinions. (Id. at ¶ 139-140, 145-146, 150, 171-172, 184-

185, 198, 200-202). Thus, Dr. Afnan’s opinions claiming ZHP complied with

cGMPs and other regulatory requirements are unsupported without reliance on Dr.

Xue’s now excluded opinions.

        During his deposition, Dr. Afnan conceded his extensive reliance on Dr. Xue

to answer the organic chemistry question of whether the reactions at issue could have

been identified as possibilities and related issues. (Afnan 3/8/2023 Dep. Tr. 156:6-

11, 157:2-13, 171:3-5, 205:19-206:4, 206:9-15, 213:17-20, 230:20-231:6, 410:23-

411:2). Defense counsel confirmed this. (Id. at 175:22-176:5). Without Dr. Xue’s

opinions to rely on, Dr. Afnan cannot opine on whether ZHP performed a proper

risk assessment for the ZnCl2 or TEA with sodium nitrite quenching processes in

accordance with cGMPs or other regulatory requirements (the FDA of course found

that ZHP did not). He also cannot opine that ZHP continued to comply with cGMPs

or other regulatory obligations after ZHP gained the knowledge documented in the

July 27, 2017 email. The Court should consequently exclude Paragraphs 134-212 of

his report, captioned “ZHP Complied with Regulatory Requirements in the

Manufacture and Sale of Valsartan API,” as well as any paragraphs containing those

opinions.4


4
    Plaintiffs note that the Court excluded Dr. Bain (Dr. Afnan’s true counterpart) in

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      Looking forward, the ZHP Defendants cannot now claim Dr. Afnan has the

necessary expertise to proffer his own chemistry opinions without Dr. Xue to rely

on. Dr. Afnan testified in his deposition that he is an expert in cGMPs, not an expert

in the fields of organic chemistry or toxicology. (Afnan 3/8/2023 Dep. Tr. 63:8-11,

63:17-64:2). Later in his deposition, after Dr. Afnan tried to re-open the door so that

he could give chemistry opinions, he backtracked and confirmed that Dr. Xue was

addressing the chemistry: “I did not say that I was giving chemistry

opinions…My expertise in this is GMPs…My role, my remit, was to look at the

plaintiff experts and assess GMP – GMP statements. I was not here, on this

project, to assess the chemistry. For that, there was Professor Xue.” ZHP’s

counsel confirmed that Dr. Afnan was not proffered as an expert in chemistry, in

objecting to a chemistry question, “Objection. That’s outside the scope of his

opinions.” (Id. at 158:3-13, 168:11-171:11). To further illustrate, when asked

whether he evaluated “what temperatures were reached and what impact that could

have on the DMF,” during the zinc chloride process, he replied, “Again, my remit

here was not chemistry.” (Id. at 173:11-16). Thus, since Dr. Xue’s opinions on

that and the other points has been precluded, any opinion relying on or discussing

the chemistry issues must also be precluded.

      The same goes for Dr. Afnan’s reliance on Dr. Xue’s excluded opinions


this manner. (ECF 2581, p. 18-19).

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regarding the July 27, 2017 email. In addition to stating his reliance in his report,

quoted above, in his deposition Dr. Afnan confirmed his reliance on Dr. Xue’s

opinion as to what the email said and meant, as the foundation for his opinions as to

the lack of significance of that email. (Id. at 206:9-15). Dr. Xue’s opinion has been

precluded; thus, Dr. Afnan cannot rely on it.

      Finally, to the extent that Defendants may assert that Dr. Afnan claims that he

relied on an off the record discussion that ZHP witness Jucai Ge had with ZHP

employee Jinsheng Lin, in an effort to undercut the import of the July 27, 2017 email

authored by Dr. Lin, this should be also precluded.        Simply put, Jucai Ge’s

deposition testimony was based on her conversation with Jinsheng Lin, which

renders it inadmissible hearsay if presented affirmatively. (Jucai Ge 5/26/2022 Dep.

Tr. 79:7-16 (Ex. 11))). See Chevron TCI, Inc. v. Capitol House Hotel Manager, LLC,

541 F. Supp. 3d 687, 694 (M.D. La. 2021) (holding that “a corporate representative

may not testify to matters outside his own personal knowledge ‘to the extent that

information [is] hearsay not falling within one of the authorized exceptions.’)

(quoting Brazos River Auth. v. GE Ionics, Inc., 469 F.3d 416, 435 (5th Cir. 2006))

(citing Deutsche Shell Tanker Gesellschaft mbH v. Placid Refining Co., 993 F.2d

466, 473 n. 29 (5th Cir. 1993)); Diamond Offshore Co. v. Survival Sys. Int'l, Inc.,

902 F. Supp. 2d 912, 932 (S.D. Tex. 2012) (holding: “The statements made on

information and belief based on Mark Beatty's conversations with Captain Beatty


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are hearsay and cannot be transformed into admissible evidence simply because

Mark Beatty is a corporate representative.”).

      Moreover, beyond the black letter inadmissibility of the hearsay testimony,

Jucai Ge’s ipse dixit description of the email without specifying what it actually says

is as unreliable as Dr. Xue’s attempt to proffer the same opinion—since she admitted

that the email says what it clearly says. (Jucai Ge 5/26/2022 Dep. Tr. 83:7-84:7

(testifying that the email was “poorly written and complicated … even though that

was the words that said so on this page,” meaning Plaintiffs’ understanding of what

the email actually states is accurate). Moreover, the only translation of the email

produced by the ZHP Defendants confirms the statements relevant to Plaintiffs’

claims. (Ex. 12). And Dr. Afnan’s opinion is not helpful, at most repeating that her

analysis characterized the email as “confusing” and “badly written.” (Afnan

3/8/2023 Dep. Tr. 215:4-7).

      Dr. Afnan cannot rely on either person to support his decision to ignore the

July 27, 2017 email. Paoli, 35 F.3d at 742-43; TMI Litig., 193 F.3d at 697;

Gopalratnam, 877 F.3d at 789; Sims, 839 F.3d at 405; Fuesting., 362 F. App'x at

564. Thus, Dr. Afnan should be precluded from relying on the ex parte interviews,

and any opinions based on those interviews should be precluded.

      Moreover, when confronted with the clear language of the July 27, 2017

email, Dr. Afnan attempted to sideline the email by inexplicably asserting that


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the NDMA was not formed as a result of the sodium nitrite quenching during

the manufacturing process. (Afnan 3/8/2023 Dep. Tr. 230:5-18). Of course, the

formation of the NDMA as a result of the sodium nitrite quenching process is not

debatable, and was established by and admitted to by ZHP’s corporate

representatives, including Dr. Li. (Min Li 4/20/2021 Dep. Tr. 96:12-16 (Ex. 13);5

PRINSTON00075810-11, 75854 (Ex. 14); PRINSTON00076102-03 (Ex. 15)). Dr.

Afnan then withdrew further and stated that he could not say when or how the

NDMA was formed. (Afnan 3/8/2023 Dep. Tr. 230:20-231:6). He cannot provide

a reliable opinion as to the implications of the formation of the NDMA without a

reliable basis for understanding how the NDMA was formed. This is basic.

      The complete absence of a reliable methodology was illustrated when Dr.

Afnan was asked to assume that the July 2017 email says there was NDMA in

valsartan and that it was formed due to the sodium nitrite quenching.           He

inexplicably still would not agree that would mean ZHP knew about those facts at

least as of July 2017. (Id. at 234:15-235:2). Then, when asked whether, if ZHP

knew about the potential formation of the nitrosamines but failed to test for their

potential presence, that would be a cGMP violation, he could not or would not

answer. (Id. at 235:19-236:7). A methodology that leads to any answer but “Yes”



5
 Min Li also confirmed the content of the July 27, 2017 email. (Id. at 82:11-12,
87:19-88:7, 88:13-89:18).

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to those questions is so flawed and so result-oriented that preclusion is required.

                                  CONCLUSION

      For the foregoing reasons, the Court should deny the ZHP Defendants’ motion

and grant Plaintiffs’ cross-motion to exclude Dr. Afnan’s opinions regarding ZHP’s

compliance with cGMPs and other regulatory requirements, all of which spring from

his reliance on Dr. Xue now excluded opinions.

Dated: February 6, 2024                     Respectfully submitted,

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